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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA




PROTECT DEMOCRACY PROJECT,
                                                     Case No. 1:25-cv-01111
                      Plaintiff,

       v.

U.S. OFFICE OF MANAGEMENT & BUDGET
et al.,

                      Defendants.




       PLAINTIFF’S STATEMENT OF MATERIAL FACTS NOT IN DISPUTE



    1.​ The Office of Management and
Budget (OMB) is a federal agency with
responsibility for government-wide financial
management policies for executive agencies
and numerous financial management
functions. See 31 U.S.C. §§ 503(a), 504.

  2.​ Russell T. Vought is the Director of
OMB.

    3.​ The Antideficiency Act established the
process of apportionment, which requires that
budget authority provided to federal agencies
in appropriations acts be allocated in
installments, rather than all at once. See 31
U.S.C. § 1512.

    4.​ The Antideficiency Act requires that
funds that are appropriated for limited
durations be apportioned to prevent obligation
or expenditure at a rate that may require
Congress to appropriate more money to the



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agency before the next appropriations cycle.
Id. § 1512(a).

    5.​ Even for appropriations that are
indefinite durations, the Act requires
apportionments to achieve the most effective
and economical use of the funds. Id.

    6.​ The Impoundment Control Act
provides that the Executive Branch must
spend the funds that Congress appropriated
for particular purposes, without delay, except
in narrowly prescribed circumstances. 2
U.S.C. §§ 682-88.

    7.​ The Antideficiency Act requires the
president to apportion appropriations for
federal agencies. 31 U.S.C. § 1513(b).

    8.​ The Antideficiency Act requires the
president to apportion an appropriation in
writing and notify the head of the executive
agency of the action taken to apportion an
appropriation within specified timelines. Id. §
1513(a), (b).

    9.​ The Antideficiency Act prohibits
agency officials from making an obligation or
expenditure exceeding an apportionment. Id.
§ 1517(a)(1).

    10.​The Antideficiency Act provides for
potential administrative penalties and criminal
liability for officials who violate the Act by
obligating or expending amounts exceeding
an apportionment. Id. §§ 1518-19.

   11.​The President has long-delegated the
apportionment authority to the OMB Director.
See 90 Fed. Reg. 9737 (Feb. 18, 2025).

    12.​OMB Circular No. A-11 states that an
individual apportionment is “an
OMB-approved plan” that sets the rate of
agency expenditure. Ex. 4 (OMB Circular No.
A-11 § 120.1 (2024)).




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   13.​An individual apportionment is “an
OMB-approved plan” that sets the rate of
agency expenditure. Ex. 4 § 120.1.

   14.​OMB Circular No. A-11 states that
“an apportionment is legally binding.” Id.

      15.​An apportionment is legally binding.
Id.

    16.​OMB Circular No. A-11 states that
“apportioned amounts are legal limits that
restrict how much an agency can obligate,
when it can obligate, and what projects,
programs, and activities it can obligate for.”
Id. § 120.10.

    17.​Apportioned amounts are legal limits
that restrict how much an agency can obligate,
when it can obligate, and what projects,
programs, and activities it can obligate for. Id.
§ 120.10.

    18.​OMB Circular No. A-11 states that
footnotes in apportionments ​for apportioned
amounts (also known as “A” footnotes, which
appear in the application of budgetary
resources section) “have legal effect”Id. §
120.34.

    19.​Footnotes in apportionments ​for
apportioned amounts (also known as “A”
footnotes, which appear in the application of
budgetary resources section) have legal effect
Id. § 120.34.

    20.​OMB Circular No. A-11 states that
“[w]hen OMB approves an apportionment
through the apportionment system, [agencies]
will receive an e-mail with the approved
Excel file . . and the subject line will include
the words ‘Approved Apportionment.’” Id. §
120.37.

    21.​When OMB approves an
apportionment through the apportionment
system, agencies will receive an e-mail with


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the approved Excel file and the subject line
will include the words “Approved
Apportionment.” Id.

    22.​In March 2022, Congress enacted new
legislation requiring OMB to make
apportionments public. Pub. L. No. 117-103,
div. E, tit. II, § 204(b)-(c), 136 Stat. 49,
256-57 (2022) (codified at 31 U.S.C. § 1513
note) (hereinafter “2022 Appropriations
Act”).

    23.​The 2022 Appropriations Act provides
that OMB “shall complete implementation of
an automated system to post each document
apportioning an appropriation, . . . including
any associated footnotes, in a format that
qualifies each such document as an Open
Government Data Asset (as defined in section
3504 of title 44, United States Code), not later
than 2 business days after the date of approval
of such apportionment.” Id.

    24.​The 2022 Appropriations Act further
provides that “[e]ach document apportioning
an appropriation . . . that is posted on a
publicly accessible website . . . shall also
include a written explanation by the official
approving each such apportionment stating
the rationale for any footnotes for apportioned
amounts: Provided, That the Office of
Management and Budget or the applicable
department or agency shall make available
classified documentation referenced in any
apportionment at the request of the chair or
ranking member of any appropriate
congressional committee or subcommittee.”
Id.

    25.​The “Open Government Data Asset”
format required by § 204(b) is defined as “a
public data asset that is—(A)
machine-readable; (B) available (or could be
made available) in an open format; (C) not
encumbered by restrictions, other than
intellectual property rights, including under



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titles 17 and 35, that would impede the use or
reuse of such asset; and (D) based on an
underlying open standard that is maintained
by a standards organization.” 44 U.S.C. §
3502(20).

    26.​In a division-by-division summary of
the 2022 Appropriations Act, Representative
Rosa DeLauro (then-Chairwoman of the
House Appropriations Committee) described
the legislation as among other “Important
Policy Changes” that would “[s]trengthen[]
our democracy” by “mak[ing] apportionments
of appropriations publicly available in a
timely manner.” Ex. 7, Chair Rosa DeLauro,
H.R. 2471, Funding for the People:
Division-by-Division Summary of
Appropriations Provisions 18.

    27.​In December 2022, Congress made the
requirements of the 2022 Appropriations Act
permanent, in the Consolidated
Appropriations Act of 2023, which provides
that,“[i]n fiscal year 2023 and each fiscal year
thereafter,” OMB “shall operate and maintain
the automated system required to be
implemented by section 204 of the [2022
Appropriations Act].” Pub. L. No. 117-328,
div. E, tit. II., § 204, 136 Stat. 4459, 4667
(2022) (codified at 31 U.S.C. § 1513 note)
(hereinafter “2023 Appropriations Act”).

    28.​In the 2023 Appropriations Act,
Congress further directed that OMB “shall
continue to post each document apportioning
an appropriation” (including “any associated
footnotes”) in the format and subject to the
requirements specified in the 2022
Appropriations Act. Id.

    29.​In July 2022, OMB began making
apportionments public at
https://apportionment-public.max.gov.

   30.​Plaintiff Protect Democracy is a
nonpartisan, nonprofit organization whose
mission is to prevent American democracy


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from declining into a more authoritarian form
of government. Ex. 1, Declaration of William
Ford (“Ford Decl.”) 2.

    31.​After OMB created its public
apportionment website, Protect Democracy
organized and led a virtual training for
congressional staff in October 2022 on how to
read apportionments, navigate and use OMB’s
website, and find the apportionments
associated with a particular appropriation or
Treasury account.” Id. 5; see Protect
Democracy, Experts Explain How to Read
Apportionments and Navigate OMB’s New
Apportionment Website, YouTube (Oct. 17,
2022), https://tinyurl.com/yd6urbxe.

    32.​Protect Democracy made a recording
of the training and other resources for
Congress publicly available online. See id.
6; Ex. 9, Using OMB’s Apportionment
Website: Resources for Congress, Protect
Democracy (Nov. 3, 2022).

    33.​In October 2024, Protect Democracy
launched OpenOMB.org. Ford Decl. 8.

     34.​When OMB is posting its
apportionments, each day, OpenOMB.org
pulls the primary source data from OMB’s
site and stores the files in a database in a
manner that allows them to be searched,
filtered, and indexed. Id. 10.

    35.​Congressional appropriators have
stated in press releases that they monitor
OpenOMB to identify apportionment abuses.,
Id. 11.

   36.​Journalists have used OpenOMB as a
source in their news reporting. Id.

    37.​Libraries have shared OpenOMB as a
resource to help the communities they serve
understand developments in government. Id.




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    38.​OMB stopped making apportionments
public on March 24, 2025, when the website
began showing a “Page not found” error. Id.
13.

   39.​From March 24, 2025 to March 28,
2025, OMB provided no official explanation
why the apportionments website was not
functioning.

    40.​On March 29, 2025, OMB Director
Vought sent a letter to the House and Senate
Appropriations Committee’s Ranking
Member and Vice Chair, Representative Rosa
DeLauro and Senator Patty Murray, stating
that OMB “will no longer operate and
maintain” the website mandated by law. Ex.
16, Letter from Russell T. Vought to The Hon.
Patty Murray (March 29, 2025).

    41.​Vought’s letter claimed that complying
with the law “requires the disclosure of
sensitive, predecisional, and deliberative
information,” and that disclosing the required
information “may pose a danger to national
security and foreign policy.” Id.

    42.​Vought’s letter did not point to any
specific examples where OMB’s compliance
with the law has required disclosure of
privileged information or would pose a danger
to national security or foreign policy. Id.

    43.​After OMB took its website down,
Protect Democracy posted the following
header on OpenOMB: “The OMB website
that provides the underlying data used by
OpenOMB is offline. There will be no new
apportionments posted on OpenOMB until
that site is back online.” OpenOMB.org,
https://openomb.org (last visited Apr. 20,
2025); see also Ford Decl. 14.

    44.​OMB has previously released
apportionments in response to FOIA requests
or during FOIA litigation without asserting
the deliberative process privilege as a basis


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 for withholding the apportionments. Ctr. for
 Public Integrity v. Dep’t of Def., No.
 1:19-cv-03265-CKK, ECF No. 23-2 (D.D.C.
 Feb. 14, 2020).



Dated: April 22, 2025​​      ​       ​       /s/ Daniel F. Jacobson                   .




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